                            UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF WISCONSIN

Sara Harmon, et al.,

                            Plaintiffs,

          v.                                                      Case No. 18-C-209

City of Racine, et al.,

                           Defendants.



                          SETTLEMENT CONFERENCE MINUTES


                   HONORABLE WILLIAM E. CALLAHAN, JR. PRESIDING

DATE: November 28, 2018

TIME COMMENCED: 9:00 am                                   TIME CONCLUDED: 1:00 pm

APPEARANCES:

          PLAINTIFF - Sara Harmon and her counsel, Jeffrey Scott Olson and Andrea J.
Farrell

       DEFENDANT - Attorneys Scott R. Lettney, Nhu H. Arn, Michael Cohen and Garrett
A. Soberalski, as well as Patrick S. Nolan and Thomas E. Mann on behalf of Cities and
Villages Mutual Insurance Company

The parties were successful in settling the plaintiffs’ claims, subject to final approval of the
settlement by the City of Racine Common Council. Accordingly, this case will be referred
back to Judge Stadtmueller for entry of an appropriate order of dismissal, which order shall
not be entered unless and until the Common Council approves of the settlement and only
after all requisite settlement documents are executed by the parties.

So Ordered.




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